              Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 1 of 27




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
  KEVIN YAN LUIS, on behalf of himself and all :
  others similarly situated,                                             :
                                                                         :
                                 Plaintiffs,                             :
                                                                         :   CLASS ACTION COMPLAINT
                                           v.                            :             AND
                                                                         :    DEMAND FOR JURY TRIAL
  HARMLESS HARVEST, INC.                                                 :
                                                                         :
                                Defendant.                               :
                                                                         :
                                                                         :
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                                       INTRODUCTION

1. Plaintiff, KEVIN YAN LUIS (“Plaintiff” or “Yan Luis”), brings this action on behalf of himself

  and all other persons similarly situated against HARMLESS HARVEST, INC. (hereinafter

  “Harmless Harvest” or “Defendant”), and states as follows:

2. Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

  read website content using his computer. Plaintiff uses the terms “blind” or “visually-impaired”

  to refer to all people with visual impairments who meet the legal definition of blindness in that

  they have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who

  meet this definition have limited vision; others have no vision.

3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people

  in the United States are visually impaired, including 2.0 million who are blind, and according

  to the American Foundation for the Blind’s 2015 report, approximately 400,000 visually

  impaired persons live in the State of New York.




                                                                   1
              Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 2 of 27




4. Plaintiff brings this civil rights action against Harmless Harvest for their failure to design,

  construct, maintain, and operate their website to be fully accessible to and independently usable

  by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and visually

  impaired persons throughout the United States with equal access to the goods and services

  Harmless       Harvest      provides      to     their     non-disabled       customers      through

  https://www.Harmlessharvest.com (hereinafter “Harmlessharvest.com” or “the website”).

  Defendants’ denial of full and equal access to its website, and therefore denial of its products and

  services offered, and in conjunction with its physical locations, is a violation of Plaintiff’s rights

  under the Americans with Disabilities Act (the “ADA”).

5. Harmlessharvest.com provides to the public a wide array of the goods, services, price specials,

  employment opportunities and other programs offered by Harmless Harvest.                         Yet,

  Harmlessharvest.com contains thousands of access barriers that make it difficult if not impossible

  for blind and visually-impaired customers to use the website. In fact, the access barriers make it

  impossible for blind and visually-impaired users to even complete a transaction on the website.

  Thus, Harmless Harvest excludes the blind and visually-impaired from the full and equal

  participation in the growing Internet economy that is increasingly a fundamental part of the

  common marketplace and daily living. In the wave of technological advances in recent years,

  assistive computer technology is becoming an increasingly prominent part of everyday life,

  allowing blind and visually-impaired persons to fully and independently access a variety of

  services.

6. The blind have an even greater need than the sighted to shop and conduct transactions online

  due to the challenges faced in mobility. The lack of an accessible website means that blind

  people are excluded from experiencing transacting with defendant’s website and from

  purchasing goods or services from Defendant’s website.
                                                    2
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 3 of 27




7. Despite readily available accessible technology, such as the technology in use at other heavily

   trafficked retail websites, which makes use of alternative text, accessible forms, descriptive links,

   resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

   exclusively visual interface. Harmless Harvest sighted customers can independently browse,

   select, and buy online without the assistance of others. However, blind persons must rely on

   sighted companions to assist them in accessing and purchasing on Harmlessharvest.com.

8. By failing to make the website accessible to blind persons, Defendant is violating basic equal

   access requirements under both state and federal law.

9. Congress provided a clear and national mandate for the elimination of discrimination against

   individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to

   full integration, independent living, and equal opportunity for persons with disabilities, including

   those barriers created by websites and other public accommodations that are inaccessible to blind

   and visually impaired persons. Similarly, New York state law requires places of public

   accommodation to ensure access to goods, services, and facilities by making reasonable

   accommodations for persons with disabilities.


10. Plaintiff browsed and intended to make an online purchase of a coconut beverage onn

   Harmlessharvest.com. However, unless Defendant remedies the numerous access barriers on its

   website, Plaintiff and Class members will continue to be unable to independently navigate,

   browse, use, and complete a transaction on Harmlessharvest.com.

11. Because Defendant’s website, Harmlessharvest.com, is not equally accessible to blind and

   visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to

   cause a change in Harmless Harvest policies, practices, and procedures to that Defendant’s

   website will become and remain accessible to blind and visually-impaired consumers. This

                                                    3
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 4 of 27




    complaint also seeks compensatory damages to compensate Class members for having been

    subjected to unlawful discrimination.



                                    JURISDICTION AND VENUE

    12.      This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and

    42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et

    seq., and 28 U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28

    U.S.C. § 1367, over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y.

    Exec. Law, Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law,

    N.Y.C. Administrative Code § 8-101 et seq. (“City Law”).

13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendant conducts and continues to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in

    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    in Bronx County.

14. Defendant is registered to do business in New York State and has been conducting business in

    New York State, including in this District. Defendant purposefully targets and otherwise solicits

    business from New York State residents through its website and sells its products through many

    retailers in this District. Because of this targeting, it is not unusual for Harmless Harvest to

    conduct business with New York State residents. Defendant also has been and is committing the

    acts alleged herein in this District and has been and is violating the rights of consumers in this

    District and has been and is causing injury to consumers in this District. A substantial part of the

    act and omissions giving rise to Plaintiff’s claims have occurred in this District. Most courts


                                                      4
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 5 of 27




    support the placement of venue in the district in which Plaintiff tried and failed to access the

    Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287 (D. Mass. 2017),

    Judge Patti B. Saris ruled that “although the website may have been created and operated outside

    of the district, the attempts to access the website in Massachusetts are part of the sequence of

    events underlying the claim. Therefore, venue is proper in [the District of

    Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the

    harm – the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.

    Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

    47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

    itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

    Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.”

    Sportswear, No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a

    customer base in a particular district is sufficient cause for venue placement.

                                                 PARTIES

16. Plaintiff, is and has been at all relevant times a resident of Kings County, State of New York.

17. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. §

    12102(l)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

    New York State Human Rights Law and the New York City Human Rights Law. Plaintiff,

    KEVIN YAN LUIS, cannot use a computer without the assistance of screen reader

    software. Plaintiff, KEVIN YAN LUIS, has been denied the full enjoyment of the facilities,

    goods and services of Harmlessharvest.com as a result of accessibility barriers on

    Harmlessharvest.com.

18. Defendant, Harmless Harvest, Inc., is a Delaware corporation


                                                      5
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 6 of 27




   doing business in this State with its principal place of business located at 200 Green St, Studio 1,

   San Francisco, CA 94111.

19. Harmless Harvest provides to the public a website known as Harmlessharvest.com which

   provides consumers with access to an array of goods and services, including the ability to view

   the various coconut and yogurt beverages, and other products on the website, and make

   purchases, among other features. Consumers across the United States and the world use

   Defendant's website to purchase coconut water and other products. Defendant’s website is a

   place of public accommodation within the definition of Title III of the ADA, 42 U.S.C. §

   12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767, 2017 WL 3278898

   (E.D.N.Y. August 1, 2017). The inaccessibility of Harmlessharvest.com has deterred Plaintiff

   from making an online purchase of a coconut beverage.

                                       NATURE OF THE CASE

20. The Internet has become a significant source of information, a portal, and a tool for conducting

   business, doing everyday activities such as shopping, learning, banking, researching, as well as

   many other activities for sighted, blind and visually-impaired persons alike.

21. The blind access websites by using keyboards in conjunction with screen-reading software which

   vocalizes visual information on a computer screen. Except for a blind person whose residual

   vision is still sufficient to use magnification, screen access software provides the only method by

   which a blind person can independently access the Internet. Unless websites are designed to

   allow for use in this manner, blind persons are unable to fully access Internet websites and the

   information, products and services contained therein.




                                                    6
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 7 of 27




22. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user

    is unable to access the same content available to sighted users.

23. Blind users of Windows operating system-enabled computers and devises have several screen-

    reading software programs available to them. Job Access With Speech, otherwise known as

    “JAWS” is currently the most popular, separately purchase and downloaded screen-reading

    software program available for blind computer users.

24. The international website standards organization, the World Wide Web

    Consortium, known throughout the world as W3C, has published version 2.1 of the Web Content

    Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making

    websites accessible to blind and visually-impaired persons. These guidelines are universally

    followed by most large business entities and government agencies to ensure their websites are

    accessible.   Many Courts have also established WCAG 2.1 as the standard guideline for

    accessibility. The federal government has also promulgated website accessibility standards under

    Section 508 of the Rehabilitation Act. These guidelines are readily available via the Internet, so

    that a business designing a website can easily access them. These guidelines recommend several

    basic components for making websites accessible, including but not limited to: adding invisible

    alt-text to graphics, ensuring that all functions can be performed using a keyboard and not just a

    mouse, ensuring that image maps are accessible, and adding headings so that blind persons can

    easily navigate the site. Without these very basic components, a website will be inaccessible to a

    blind person using a screen reader. Websites need to be accessible to the “least sophisticated” user

    of screen-reading software and need to be able to work with all browsers. Websites need to be

    continually updated and maintained to ensure that they remain fully accessible.


                                                     7
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 8 of 27




                                      FACTUAL ALLEGATIONS

25. Defendant controls and operates Harmlessharvest.com. in New York State and throughout the

    United States and the world.


26. Harmlessharvest.com is a commercial website that offers products and services for online sale.

   The online store allows the user to view the various types of beverages, make purchases, and

   perform a variety of other functions.


27. Among the features offered by Harmlessharvest.com are the following:

                   (a) an online store, allowing customers to purchase coconut and yogurt beverages,

     and another products.

                   (b) Consumers may use the website to connect with Harmless Harvest on various

     social media platforms, including Instagram, Facebook, Twitter, Youtube and Tiktok; and

                   (c) Learning about shipping and return policies, reading reviews, and learning about

     the company, amongst other features.

28. This case arises out of Harmless Harvest policy and practice of denying the blind access to the

   goods and services offered by Harmlessharvest.com. Due to Harmless Harvest failure and

   refusal to remove access barriers to Harmlessharvest.com, blind individuals have been and are

   being denied equal access to Harmless Harvest, as well as to the numerous goods, services and

   benefits offered to the public through Harmlessharvest.com.

29. Harmless Harvest denies the blind access to goods, services and information made available

   through Harmlessharvest.com by preventing them from freely navigating Harmlessharvest.com.

30. Harmlessharvest.com contains access barriers that prevent free and full use by

   Plaintiff and blind persons using keyboards and screen-reading software. These barriers are


                                                    8
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 9 of 27




   pervasive and include, but are not limited to: lack of alt-text on graphics, inaccessible drop-down

   menus, the lack of navigation links, the lack of adequate prompting and labeling, the denial of

   keyboard access, empty links that contain no text, redundant links where adjacent links go to the

   same URL address, and the requirement that transactions be performed solely with a mouse.

31. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

   Web accessibility requires that alt-text be coded with each picture so that a screen-reader can

   speak the alternative text while sighted users see the picture. Alt-text does not change the visual

   presentation except that it appears as a text pop-up when the mouse moves over the picture.

   There are many important pictures on Harmlessharvest.com that lack a text equivalent. The lack

   of alt-text on these graphics prevents screen readers from accurately vocalizing a description of

   the graphics (screen-readers detect and vocalize alt-text to provide a description of the image to a

   blind computer user). As a result, Plaintiff and blind Harmlessharvest.com customers are unable

   to determine what is on the website, browse the website or investigate and/or make purchases.

32. Harmlessharvest.com also lacks prompting information and accommodations

   necessary to allow blind shoppers who use screen-readers to locate and accurately fill-out online

   forms. On a shopping site such as Harmlessharvest.com, these forms include search fields to

   locate and select products, fields to select color, size, and quantity, fields to select frequency of

   delivery, and fields used to fill-out personal information, including address and credit card

   information. Due to lack of adequate labeling, Plaintiff and blind customers cannot make

   purchases or inquiries as to Defendant’s merchandise, nor can they enter their personal

   identification and financial information with confidence and security.

33. When visiting the Website, Plaintiff, using JAWS and other screen readers, encountered the

   following specific accessibility issues:


                                                      9
         Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 10 of 27




     •   Various images on the site had no alternative text, therefore Plaintiff could not learn about

         some products while browsing;

     •   Different images on the website had the same alternative text, causing confusion to

         Plaintiff;

     •   Plaintiff was disoriented when the automatic Email Subscription pop-up window appeared

         on the web page. Plaintiff, as a legally blind user, has a significant difficulty knowing when

         automatic visual context change has occurred, such as a new window popping up;

     •   The Navigation menu had elements with drop-down lists, and they did not announce their

         state – “collapsed” or “expanded”. As a result, Plaintiff had difficulty in navigating the menu;

     •   The “Nutrition Facts” of several items were not accessible to the screen-reader;

     •   Tabbing through active elements (links, forms etc.) do not follow the same order as the page

         layout: left to right and top to bottom. This disoriented Plaintiff while using the site.

     •   The form fields of the ‘checkout’ page do not indicate to the screen-reader which fields are

         mandatory to complete a purchase, as is required.


Consequently, blind customers are essentially prevented from purchasing any items on

Harmlessharvest.com.


34. Harmlessharvest.com requires the use of a mouse to complete a transaction. Yet, it is a

fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff and blind

people, it must be possible for the user to interact with the page using only the keyboard. Indeed,

Plaintiff and blind users cannot use a mouse because manipulating the mouse is a visual activity

of moving the mouse pointer from one visual spot on the page to another. Thus,

Harmlessharvest.com’s inaccessible design, which requires the use of a mouse to complete a



                                                   10
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 11 of 27




   transaction, denies Plaintiff and blind customers the ability to independently navigate and/or

   make purchases on Harmlessharvest.com.


   35.     Due to Harmlessharvest.com’s inaccessibility, Plaintiff and blind customers must in turn

   spend time, energy, and/or money to make their purchases at traditional brick-and mortar

   retailers. Some blind customers may require a driver to get to the stores or require assistance in

   navigating the stores. By contrast, if Harmlessharvest.com was accessible, a blind person could

   independently investigate products and make purchases via the Internet as sighted individuals

   can and do. According to WCAG 2.1 Guideline 2.4.1, a mechanism is necessary to

   bypass blocks of content that are repeated on multiple webpages because requiring users to

   extensively tab before reaching the main content is an unacceptable barrier to accessing the

   website. Plaintiff must tab through every navigation bar option and footer on Defendant’s

   website in an attempt to reach the desired service. Thus, Harmlessharvest.com’s inaccessible

   design, which requires the use of a mouse to complete a transaction, denies Plaintiff and blind

   customers the ability to independently make purchases on Harmlessharvest.com.

39. Harmlessharvest.com thus contains access barriers which deny the full and equal access to

   Plaintiff, who would otherwise use Harmlessharvest.com and who would otherwise be able to

   fully and equally enjoy the benefits and services of Harmlessharvest.com in New York State and

   throughout the United States.

40. Plaintiff, KEVIN YAN LUIS, has made numerous attempts to complete a purchase on

   Harmlessharvest.com, most recently on May 23, 2022, but was unable to do so independently

   because of the many access barriers on Defendant’s website. These access barriers have caused

   Harmlessharvest.com to be inaccessible to, and not independently usable by, blind and visually-



                                                   11
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 12 of 27




   impaired persons. Amongst other access barriers experienced, Plaintiff was unable to make an

   online purchase of a coconut beverage.

41. Moreover, Plaintiff intends on visiting the Website in the future in order to make additional

   purchases of coconut water and other items. Plaintiff enjoys the various selections of coconut

   beverages and would like to order coconut water from Harmlessharvest.com to be shipped

   directly to his home in the future.

42. As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

   Harmlessharvest.com, contains access barriers causing the website to be inaccessible, and not

   independently usable by, blind and visually-impaired persons.

43. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the

   goods, benefits and services of Harmlessharvest.com.

44. Defendant engaged in acts of intentional discrimination, including but not

   limited to the following policies or practices:

   (a)     constructed and maintained a website that is inaccessible to blind class members with

   knowledge of the discrimination; and/or

   (b)     constructed and maintained a website that is sufficiently intuitive and/or obvious that is

   inaccessible to blind class members; and/or

   (c)     failed to take actions to correct these access barriers in the face of substantial harm and

   discrimination to blind class members.

45. Defendant utilizes standards, criteria or methods of administration that have the effect of

   discriminating or perpetuating the discrimination of others.




                                                     12
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 13 of 27




46. Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

   and services of Harmlessharvest.com, Plaintiff and the class have suffered an injury-in-fact

   which is concrete and particularized and actual and is a direct result of defendant’s conduct.

                                    CLASS ACTION ALLEGATIONS

47. Plaintiff, on behalf of himself and all others similarly situated, seeks certification of the

   following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil

   Procedure: “all legally blind individuals in the United States who have attempted to access

   Harmlessharvest.com and as a result have been denied access to the enjoyment of goods and

   services offered by Harmlessharvest.com, during the relevant statutory period.”

48. Plaintiff seeks certification of the following New York subclass pursuant to

   Fed.R.Civ.P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New
   York State who have attempted to access Harmlessharvest.com and as a result have been denied

   access to the enjoyment of goods and services offered by Harmlessharvest.com, during the

   relevant statutory period.”

49. There are hundreds of thousands of visually-impaired persons in New York

   State. There are approximately 8.1 million people in the United States who are visuallyimpaired.

   Id. Thus, the persons in the class are so numerous that joinder of all such persons is impractical

   and the disposition of their claims in a class action is a benefit to the parties and to the Court.

50. This case arises out of Defendant’s policy and practice of maintaining an

   inaccessible website denying blind persons access to the goods and services of

   Harmlessharvest.com. Due to Defendant’s policy and practice of failing to remove access

   barriers, blind persons have been and are being denied full and equal access to independently

   browse, select and shop on Harmlessharvest.com.



                                                      13
           Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 14 of 27




51. There are common questions of law and fact common to the class, including

   without limitation, the following:

      (a) Whether Harmlessharvest.com is a “public accommodation” under the ADA;

      (b) Whether Harmlessharvest.com is a “place or provider of public accommodation” under the

         laws of New York;

      (c) Whether Defendant, through its website, Harmlessharvest.com, denies the full and equal

         enjoyment of its goods, services, facilities, privileges, advantages, or accommodations to

         people with visual disabilities in violation of the ADA; and

      (d) Whether Defendant, through its website, Harmlessharvest.com, denies the full and equal

         enjoyment of its goods, services, facilities, privileges, advantages, or accommodations to

         people with visual disabilities in violation of the law of New York.

   52.    The claims of the named Plaintiff are typical of those of the class. The class, similar to

   the Plaintiff, is severely visually-impaired or otherwise blind, and claims Harmless Harvest has

   violated the ADA, and/or the laws of New York by failing to update or remove access barriers on

   their website, Harmlessharvest.com, so it can be independently accessible to the class of people

   who are legally blind.

   53.    Plaintiff will fairly and adequately represent and protect the interests of the members of

   the Class because Plaintiff has retained and is represented by counsel competent and experienced

   in complex class action litigation, and because Plaintiff has no interests antagonistic to the

   members of the class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P.

   23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to the

   Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and the

   Class as a whole.


                                                    14
              Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 15 of 27




   54.       Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

   questions of law and fact common to Class members clearly predominate over questions

   affecting only individual class members, and because a class action is superior to other available

   methods for the fair and efficient adjudication of this litigation.

   55.       Judicial economy will be served by maintenance of this lawsuit as a class action in that it

   is likely to avoid the burden that would be otherwise placed upon the judicial system by the

   filing of numerous similar suits by people with visual disabilities throughout the United States.

   56.       References to Plaintiff shall be deemed to include the named Plaintiff and each member

   of the class, unless otherwise indicated.

                                        FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)

57. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

   1 through 56 of this Complaint as though set forth at length herein.

58. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

   individual shall be discriminated against on the basis of disability in the full and equal enjoyment

   of the goods, services, facilities, privileges, advantages, or accommodations of any place of

   public accommodation by any person who owns, leases (or leases to), or operates a place of

   public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria

   or methods of administration that have the effect of discriminating on the basis of disability.” 42

   U.S.C. § 12181(b)(2)(D)(I).

59. Harmlessharvest.com is a sales establishment and public accommodation within the definition of

   42 U.S.C. §§ 12181(7).


60. Defendant is subject to Title III of the ADA because it owns and operates Harmlessharvest.com.
                                                      15
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 16 of 27




61. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities the

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodations of an entity.

62. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

63. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful

discrimination includes, among other things, “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would

fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”

   64.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

   discrimination also includes, among other things, “a failure to take such steps as may be

   necessary to ensure that no individual with disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services, unless the entity can demonstrate that taking such steps would fundamentally alter the

   nature of the good, service, facility, privilege, advantage, or accommodation being offered or

   would result in an undue burden.”




                                                    16
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 17 of 27




   65.     There are readily available, well-established guidelines on the Internet for making

   websites accessible to the blind and visually-impaired. These guidelines have been followed by

   other business entities in making their websites accessible, including but not limited to ensuring

   adequate prompting and accessible alt-text. Incorporating the basic components to make their

   website accessible would neither fundamentally alter the nature of Defendant’s business nor

   result in an undue burden to Defendant.

   66.     The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et

   seq., and the regulations promulgated thereunder. Patrons of Harmless Harvest who are blind

   have been denied full and equal access to Harmlessharvest.com, have not been provided services

   that are provided to other patrons who are not disabled, and/or have been provided services that

   are inferior to the services provided to non-disabled patrons.

   67.     Defendant has failed to take any prompt and equitable steps to remedy its discriminatory

   conduct. These violations are ongoing.

    68. As such, Defendant discriminates, and will continue in the future to discriminate against

   Plaintiff and members of the proposed class and subclass on the basis of disability in the full and

   equal enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

   opportunities of Harmlessharvest.com in violation of Title III of the

   Americans with Disabilities Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.

   69. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

   Plaintiff and members of the proposed class and subclass will continue to suffer irreparable

   harm.

70. The actions of Defendant were and are in violation of the ADA, and therefore

   Plaintiff invokes his statutory right to injunctive relief to remedy the discrimination.


                                                    17
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 18 of 27




71. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

72. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.

                                      SECOND CAUSE OF ACTION

                    (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                 Article 15 (Executive Law § 292 et seq.))

73. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 72 of this Complaint as though set forth at length herein.

74. 74. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any

    person, being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any

    place of public accommodation . . . because of the . . . disability of any person, directly or

    indirectly, to refuse, withhold from or deny to such person any of the accommodations,

    advantages, facilities or privileges thereof.”.

75. Harmlessharvest.com is a sales establishment and public accommodation

   within the definition of N.Y. Exec. Law § 292(9).
   76.     Defendant is subject to the New York Human Rights Law because it owns and operates

    Harmlessharvest.com. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).

   77.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove

    access barriers to Harmlessharvest.com, causing Harmlessharvest.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons the full and equal access to the

    facilities, goods and services that Defendant makes available to the non-disabled public.

           78. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes,

    among other things, “a refusal to make reasonable modifications in policies, practices, or

    procedures, when such modifications are necessary to afford facilities, privileges, advantages or

                                                      18
        Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 19 of 27




accommodations to individuals with disabilities, unless such person can demonstrate that making

such modifications would fundamentally alter the nature of such facilities, privileges, advantages

or accommodations.”

79.    In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also

includes, “a refusal to take such steps as may be necessary to ensure that no individual with a

disability is excluded or denied services because of the absence of auxiliary aids and services,

unless such person can demonstrate that taking such steps would fundamentally alter the nature

of the facility, privilege, advantage or accommodation being offered or would result in an undue

burden.”

80.    There are readily available, well-established guidelines on the Internet for making

websites accessible to the blind and visually-impaired. These guidelines have been followed by

other business entities in making their website accessible, including but not limited to: adding

alt-text to graphics and ensuring that all functions can be performed by using a keyboard.

Incorporating the basic components to make their website accessible would neither

fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.

81. Defendant’s actions constitute willful intentional discrimination against the class on the

basis of a disability in violation of the New York State Human Rights Law, N.Y.

Exec. Law § 296(2) in that Defendant has:

(a)    constructed and maintained a website that is inaccessible to blind class members with

knowledge of the discrimination; and/or

(b)    constructed and maintained a website that is sufficiently intuitive and/or obvious that is

inaccessible to blind class members; and/or

                                                19
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 20 of 27




   (c)      failed to take actions to correct these access barriers in the face of substantial harm and

    discrimination to blind class members.

   82.      Defendant has failed to take any prompt and equitable steps to remedy their

    discriminatory conduct. These violations are ongoing.

   83.      As such, Defendant discriminates, and will continue in the future to discriminate against

    Plaintiff and members of the proposed class and subclass on the basis of disability in the full and

    equal enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Harmlessharvest.com under N.Y. Exec. Law § 296(2) et seq. and/or its

    implementing regulations. Unless the Court enjoins Defendant from continuing to engage in

    these unlawful practices, Plaintiff and members of the class will continue to suffer irreparable

    harm.

   84.      The actions of Defendant were and are in violation of the New York State Human Rights

    Law and therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.

85. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

86. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

87. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.

                                      THIRD CAUSE OF ACTION
                     (Violation of New York State Civil Rights Law, NY CLS Civ R,
                                    Article 4 (CLS Civ R § 40 et seq.))

88. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 87 of this Complaint as though set forth at length herein.



                                                      20
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 21 of 27




89. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law §

   41.

90. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

   entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

   of public accommodations, resort or amusement, subject only to the conditions and limitations

   established by law and applicable alike to all persons. No persons, being the owner, lessee,

   proprietor, manager, superintendent, agent, or employee of any such place shall directly or

   indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

   facilities and privileges thereof . . .”

91. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term

   is defined in section two hundred ninety-two of executive law, be subjected to any discrimination

   in his or her civil rights, or to any harassment, as defined in section 240.25 of the penal law, in

   the exercise thereof, by any other person or by any firm, corporation or institution, or by the state

   or any agency or subdivision.”

92. Harmlessharvest.com is a sales establishment and public accommodation

   within the definition of N.Y. Civil Rights Law § 40-c(2).

93. Defendant is subject to New York Civil Rights Law because it owns and operates

   Harmlessharvest.com. Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).

94. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

   barriers to Harmlessharvest.com, causing Harmlessharvest.com to be completely inaccessible to

   the blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods

   and services that Defendant makes available to the non-disabled public.




                                                    21
            Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 22 of 27




95. There are readily available, well-established guidelines on the Internet for making websites

   accessible to the blind and visually-impaired. These guidelines have been followed by other

   business entities in making their website accessible, including but not limited to: adding alt-text

   to graphics and ensuring that all functions can be performed by using a keyboard. Incorporating

   the basic components to make their website accessible would neither fundamentally alter the

   nature of Defendant’s business nor result in an undue burden to

   Defendant.

96. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which

   shall violate any of the provisions of sections forty, forty-a, forty-b or forty two . . . shall for each

   and every violation thereof be liable to a penalty of not less than one hundred dollars nor more

   than five hundred dollars, to be recovered by the person aggrieved thereby . . .”

97. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall

   violate any of the provisions of the foregoing section, or subdivision three of section 240.30 or

   section 240.31 of the penal law, or who shall aid or incite the violation of any of said provisions

   shall for each and every violation thereof be liable to a penalty of not less than one hundred

   dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby in

   any court of competent jurisdiction in the county in which the defendant shall reside . . .”

   98.     Defendant has failed to take any prompt and equitable steps to remedy their

   discriminatory conduct. These violations are ongoing.

   99.     As such, Defendant discriminates, and will continue in the future to discriminate against

   Plaintiff and members of the proposed class on the basis of disability are being directly indirectly

   refused, withheld from, or denied the accommodations, advantages, facilities and privileges

   thereof in § 40 et seq. and/or its implementing regulations.

                                                      22
               Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 23 of 27




    100.    Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well

    as civil penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every

    offense.

                                      FOURTH CAUSE OF ACTION

                             (Violation of New York City Human Rights Law,
                               N.Y.C. Administrative Code § 8-102, et seq.)

    101.    Plaintiff repeats, realleges and incorporates by reference the allegations contained in

    paragraphs 1 through 100 of this Complaint as though set forth at length herein.

    102.    102. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful

    discriminatory practice for any person, being the owner, lessee, proprietor, manager,

    superintendent, agent or employee of any place or provider of public accommodation, because of

    . . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

    the accommodations, advantages, facilities or privileges thereof.”

     103. Harmlessharvest.com is a sales establishment and public accommodation

     within the definition of N.Y.C. Administrative Code § 8-102(9).
104. Defendant is subject to City Law because it owns and operates

    Harmlessharvest.com. Defendant is a person within the meaning of N.Y.C. Administrative Code

    § 8-102(1).

105. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or

    remove access barriers to Harmlessharvest.com, causing Harmlessharvest.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

    facilities, goods, and services that Defendant makes available to the non-disabled public.

    Specifically, Defendant is required to “make reasonable accommodation to the needs of persons

    with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

                                                       23
              Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 24 of 27




     discriminating on the basis of disability shall make reasonable accommodation to enable a

     person with a disability to . . . enjoy the right or rights in question provided that the disability is

     known or should have been known by the covered entity.” N.Y.C. Administrative Code §

     8107(15)(a).

106. Defendant’s actions constitute willful intentional discrimination against the class on the basis of

     a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in

     that Defendant has:

     (a)     constructed and maintained a website that is inaccessible to blind class members with

     knowledge of the discrimination; and/or

     (b)     constructed and maintained a website that is sufficiently intuitive and/or obvious that is

     inaccessible to blind class members; and/or

     (c)     failed to take actions to correct these access barriers in the face of substantial harm and

     discrimination to blind class members.

     107. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory

     conduct. These violations are ongoing.

108. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

     and members of the proposed class and subclass on the basis of disability in the full and equal

     enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

     opportunities of Harmlessharvest.com under N.Y.C. Administrative Code § 8-107(4)(a) and/or

     its implementing regulations. Unless the Court enjoins Defendant from continuing to engage in

     these unlawful practices, Plaintiff and members of the class will continue to suffer irreparable

     harm.




                                                        24
              Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 25 of 27




109. The actions of Defendant were and are in violation of City law and therefore Plaintiff invokes his

     right to injunctive relief to remedy the discrimination.

110. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under

     N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

111. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

112. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the

     remedies, procedures, and rights set forth and incorporated therein, Plaintiff prays for judgment

     as set forth below.

                                         FIFTH CAUSE OF ACTION
                                             (Declaratory Relief)

113. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

     1 through 112 of this Complaint as though set forth at length herein.

114. An actual controversy has arisen and now exists between the parties in that Plaintiff contends,

     and is informed and believes that Defendant denies, that Harmlessharvest.com contains access

     barriers denying blind customers the full and equal access to the goods, services and facilities of

     Harmlessharvest.com, which Harmless Harvest owns, operates and/or controls, fails to comply

     with applicable laws including, but not limited to, Title III of the American with

     Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

     Administrative Code § 8-107, et seq. prohibiting discrimination against the blind.

     115. A judicial declaration is necessary and appropriate at this time in order that each of the

     parties may know their respective rights and duties and act accordingly.

                                            PRAYER FOR RELIEF




                                                       25
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 26 of 27




             WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the

     class and against the Defendants as follows:

a)   A preliminary and permanent injunction to prohibit Defendant from violating the Americans with

     Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

     Administrative Code § 8-107, et seq., and the laws of New York;

b)   A preliminary and permanent injunction requiring Defendant to take all the steps necessary to

     make its website, Harmlessharvest.com, into full compliance with the requirements set forth in the

     ADA, and its implementing regulations, so that Harmlessharvest.com is readily accessible to and

     usable by blind individuals;

c)   A declaration that Defendant owns, maintains and/or operates its website, Harmlessharvest.com,

     in a manner which discriminates against the blind and which fails to provide access for persons

     with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.

     Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New

     York;

d)   An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2) and/or

     (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class Counsel;

e)   An order directing Defendants to continually update and maintain its website to ensure that it

     remains fully accessible to and usable by the visually-impaired;

f)   Compensatory damages in an amount to be determined by proof, including all applicable

     statutory damages and fines, to Plaintiff and the proposed class for violations of their civil rights

     under New York State Human Rights Law and City Law;

g)   Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state and federal

     law;


                                                      26
             Case 1:22-cv-04797-GHW Document 1 Filed 06/08/22 Page 27 of 27




h)   For pre- and post-judgment interest to the extent permitted by law; and

i)   For such other and further relief which this court deems just and proper.

      Dated: Jericho, New York
                June 7, 2022


                                                  THE LAW OFFICE OF NOOR A. SAAB, PC
                                                  Attorneys for Plaintiff


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                                                     27
